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HH~
UNITED STATES DISTRICT COURT H, / _ 2 0 1 0
NORTHERN DISTRICT OF ILLINOIS _ NUV 0 1 2010
EASTER.N DIVISION
, JuDGE MArer-:wF. KENNELL¥
UNITED srArEs or AMERICA ) U""ED STATES DlSTRrCT CouRr
' ) No. 09 CR 1058
vs. ) Judge Matthew F. Kennelly
)
ROGELIO BARAJAS )

PLEA AGREEMENT
_ 1. This Plea Agreement between the United States Attorney for the Northern
District of Illinois, PATR.ICK J . FITZGERALD, and defendant ROGELIO BARAJAS, and
his attorney, ROBERT RASCIA, is made pursuant to Rule 11 of the Federal Rules of
Crirninal Procedure and is governed in part by Rule ll(c)(l)(A) and Ruie 71 l(c)(l)(B), as
more fully set forth below. The parties to this Agreement have agreed upon the following:
Charges in This Case
2. _The# indictment in this case charges defendant With engaging in the business
of dealing in firearms Without a license, in violation of Title 18, United States Code, Section
922(a)(1)(A) (Count One) and attempting to export defense articles without a license, in
violation of Title 22, United States Code, Sections 2778(b)(2) and (c) (Count Two)
3. Defendant has read the charges against him contained in the indictment, and
those charges have been fully explained to him by his attorney.

4. Defendant fully understands the`nature and elements of the crimes with which

he has been charged.

 

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Charge to Which Defendant is Pleading Guilty

5. By this Plea Agreement, defendant agrees to enter a Voluntary plea of guilty
to the following count of the indictmenti Count Two, Which charges defendant with
attempting to export a defense article without a_license, in violation of Title 22, United States
Code, Sections 2778(b)(2) and (c). In addition, as further provided below, defendant agrees
to the entry of a forfeiture judgment l

Factual Basis

6. Defendant Will plead guilty because he is in fact guilty of the charge contained l
in Count Two of the indictment In pleading guilty, defendant admits the following facts and
that those facts establish his guilt beyond a reasonable doubt and constitute'relevant conduct
pursuant to Guideline §1B1.3, and establish a basis for forfeiture of the property described
elsewhere in this Piea Agreement: n

-In or about March 2010, defendant Rogelio BARAJAS willfully attempted to export
defense articlcs, namely a Browning Buckmark .22 caliber handgun bearing serial number
515MI\121677, and a Ruger .22 caliber rifle bearing serial number 35480893, Without a
license for such exports, in violation ofTitle 22, United States Code, Sections 277B(b)(2) and
<c). l

More specifically, from December 2007 through March 16, `2010, BARAJAS
purchased approximately 80 firearms (including approximately-30 rifles, 30 shotguns and 20

handguns) from gun stores in the Chicago area, and registered the guns in his own name at

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several different addresses in the Chicago area. After purchasing the firearms, BARAJAS

sold or otherwise disposed of many of the firearms to other individuals BARAJAS knew
that it was illegal to engage in the business of dealing in firearms without obtaining the
required license. BARAJAS never obtained a license prior to selling the firearms he
purchased

By May 2007, BARAJAS knew that it was illegal to export firearms without a license.
BARAJAS, however, transported at least eight of the firearms he purchased between
Decernber 2007 and March 16, 2010, from Illinois to lMexico. BARAJAS usually
transported the firearms to Mexico by-driving with the firearms in his or another person’s car
from Illinois to Mexico. Once in Mexico, BARAJAS either sold the firearms to other
individuals or kept the firearms for his own personal use. BARAJAS never obtained a `
license prior to exporting the firearms from the United States to Mexico.

In addition to exporting firearms in his own name, BARAJAS exported firearms he
purchased in other names More specifically, on about May 2007, BARAJAS asked
Individual A to purchase firearms in lndividual A’s name, and then give the firearms to
BARAJAS. Individual A'agreed and, at BARAJAS’s direction, purchased three firearms in
Individual A’s name at a gun store in the Chicago area. Individuai A later gave the three
firearms to BARAJAS. BARAJAS transported the three firearms that Individual A
purchased from the United States to Mexico, where BARAJAS sold them to other

individuals

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ln about November 2007, BARAJAS again asked Individual A to purchase firearms
in Individual A’s name, and then give the firearms to BARAJAS. Individual A agreed and, _
at BARAJAS’s direction, purchased four firearms in Individual A’s name from a gun store
in the Chicago area. Individual A later gave the four firearms to BARAJAS. At
BARAJAS’s request, lndividual A also arranged for Individual A’s girlfriend, Individual B,
to purchase two firearms in Individual B’s name at a gun store in the Chicago area.
Individual A then obtained the two firearms and gave them to BARAJAS. BARAJAS
transported the six firearms that Individual` A and lndividual B had purchased in November
2007 from the United States to Mexico, where BARAJAS sold them to other individuals

On or about March 14, 2010, BARAJAS purchased two firearms, a Browning
Buckrnark .22 caliber handgun bearing serial number 515MN21677 and a Ruger .22 caliber
rifle bearing serial number 354808_93, from GAT Guns, a gun store in Dundee, Illinois.
Undcr state law, BARAJAS was eligible to take possession of the firearms on or about
March 17,-2010. After obtaining the firearms, BARAJAS intended to transport the firearms
from Illinois to Mexico in order to sell the firearms to other individuals On March 16, 2010,
before taking possession of the firearms, BARAJAS was arrested by federal authorities._

ln total, BARAJAS knowingly exported.or attempted to export at least 19 firearms

ii‘om the United States to Mexico without a license.

 

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Maximum Statutor_'y Penalties -

’7. Defendant understands that the charge to which he is pleading guilty carries

the following statutory penalties:
a. A maximum sentence of 10 years’ imprisonment This offense also
carries a maximum fine of $i,000,000. Defendant further understands that the judge also

may impose a term of supervised release of not more than three years

b. In accord with Title 18, United States Code, Section 3013, defendant

will be assessed $100 on the charge to Which he has pled guilty, in addition-to any other
penalty imposed 1
Sentencing Guidelines Calculations

8. Defendant understands that in imposing sentence the Court will be guided by
the United States Sentencing Guidelines Defendant understands that the Sentencing
Guidelines are advisory, not mandatory, but that the Court must consider the Guidelines in
determining a reasonable sentence.

9. For purposes of calculating the Sentencing Guidelines, the parties agree on the
following points:

a. Applicable Guidelines The Sentencing Guidelines to be considered

in this case are those in effect at the time of sentencing The following statements regarding
the calculation of the Sentencing Guidelines are based on the Guidelines Manual currently

in effect, namely the Novernber 2009 Guidelines Manual.

 

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b. Of`fense Level Calculations.

i. Th-e base offense level for the charge in Count Two of the n
indictment is 26, pursuant to Guideline §2M5.2 because the number of weapons involved in
the offense exceeded ten;

ii. Defendant has clearly demonstrated a recognition and affirmative
acceptance of personal responsibility for his criminal conduct. If the government does not
receive additional evidence in conflict with this provision, and if defendant continues to
accept responsibility for his actions within the meaning of Guideline §3El. l(a), including
by furnishing the United States Attorney’s Office and the Probation O-ffice with all requested
financial information relevant to his ability to satisfy any fine that may be imposed in this
case, a two-level reduction in the offense level is appropriate

iii. In accord with Guideline §3El.1(b), defendant has timely
notified the government of his intention to enter a plea of guilty, thereby permitting the
government to avoid preparing for trial and permitting the Court to allocate its resources
efficiently. Therefore, as provided by Guideline §3E1.1(b), if the Court determines the
offense level to be 16 or greater prior to determining that defendant is entitled to a two-level
reduction for acceptance of responsibility, the government will move for an additional one-
level reduction in the offense level.

c. Criminal History Category. W_ith regard to determining defendant’s

criminal history points and criminal history category, based on the facts now known to the

 

 

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government and stipulated below, defendant’s criminal history points equal one and
defendant’s criminal history category is I:

i. _ _ On or about 0ctober 13, 1998, defendant was convicted of
battery in the Circuit Court of Cook County and sentenced to one year court supervision.

d. 'Anticipated Advisor'y Sentencing Guidelines Range. Therefore,
based on the facts now known to the government, the anticipated offense level is 23, which,
when combined with the anticipated criminal history category of I_, results in an anticipated
advisory Sentencing Guidelines range of 46 to 57 months’ imprisonment in addition to` any
supervised release the Court may impose.

e. Defendant and his attorney and the government acknowledge that the
above Guideline calculations are preliminary in nature, and are non-binding predictions upon
which neither party is entitled to rely. Defendant understands that further review of the facts
or applicable legal principles may lead the government to conclude that different or
additional Guideline provisions apply in this case. Defendant understands that the Probation
Office will conduct its own investigation and that the Court ultimately determines the facts
and law relevant to sentencing, and that the Court’s determinations govern the final
Guideline calculation Accordingly, the validity of this Agreement is not contingent upon
the probation officer’s or the Court's concurrence with the above ealc_ulations, and defendant
shall not have a right to withdraw his plea on the basis of the Court’s rejection of these

calculations

 

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f. Both parties expressly acknowledge that while none of the Guideline
calculations set forth above are binding on the Court or the Probation Office, the parties have
agreed pursuant to Fed.R.Crim.P. 1 l(c)( l )(B) that certain components of those calculations
--specifically, those set forth above in subparagraph (b)(i) of this paragraph-are binding
on the parties, and it shall be a breach of this Plea Agreement for either party to present or
advocate a position inconsistent with the agreed calculations _set forth in the identified
subparagraphs

g. Defendant understands that with the exception of the Guideline
provisions identified above as binding on the parties, the Guideline calculations set forth
above are non-binding predictions upon which neither party is entitled to rely, and are not
governed by Fed.R.Crirn.P. ll(c)(l)(B). Errors in applying or interpreting any of the
Sentencing Guidelines (other than those identified above as binding) may be corrected by
either party prior to sentencing The parties may correct these errors either by stipulation or
by a statement to the Probation Oflice or the Court, setting forth the disagreement regarding
the applicable provisions of the Guidelines The validity of this Plea Agreement will not be
affected by such corrections, and defendant shall not have a right to withdraw his plea, nor

the government the right to vacate this Plea Agreement, on the basis of such corrections

 

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Agreements Relating to Sentencing 7

10. l The parties are free to recommend whatever sentence they deem appropriate
within the applicable guidelines range. The parties agree not to seek or support, directly or
indirectly, any variance from or sentence outside of the applicable guidelines range.

l l. lt is understood by the parties that the sentencing judge is neither a party to nor
bound by this Plea Agreement and may impose a sentence up to the maximum penalties as '
set forth above. Defendant further acknowledges that if the Court does not accept the
sentencing recommendation of the parties, defendant will have no right to withdraw his
guilty plea.

12. Defendant agrees to pay the special assessment of 3100 at the time of
sentencing with a cashier’s check or money order payable to the Clerk of the U.S. District
Court n

13. After sentence has been imposed on the count to which defendant pleads guilty
as agreed herein, the government will move to dismiss the remaining count of the indictment
as to defendant

Forf`eiture

14. The indictment charges that defendant has subjected real and personal property
to forfeiture, namely a Browning Buckmark .22 caliber handgun bearing serial number
5151`/11\121677 and a Ruger .22 caliber rifle bearing serial number 35480893, because that

property was used to facilitate the offense described in Count Two of the indictment By

 

 

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entry of a guilty plea to Count Two of the indictment defendant acknowledges that the
property identified above is subject-to forfeiture. l

15. Defendant agrees that this property is subject to forfeiture. Prior to senten_cing,
defendant agrees to the entry of a preliminary order of forfeiture relinquishing any right of
ownership he has in the above-described property and further agrees to the seizure of this
property so that the property may be disposed of according to law.

16. Defendant understands that forfeiture of this property shall not be treated as
satisfaction of any fine, cost of imprisonment or any other penalty the Court may impose
upon defendant in addition to the forfeiture judgment

17. Defendant timber acknowledges that in or about March 2010, administrative
forfeiture proceedings were commenced against certain property, including a Browning
Buckmark .22 caliber handgun bearing serial number 515MN21677 and a Ruger .22 caliber
rifle bearing serial number 35480893. Defendant relinquishes all right, title, and interest he
may have in this property and understands that declarations of forfeiture have been or will
be entered, extinguishing any claim he may have had in the seized property.

Acknowledgments and Waivers Regarding Plea of Guilty
Nature of Plea Agreement
18. Thi's Plea Agreement is entirely voluntary and represents the entire agreement

between the United States Attorney and defendant regarding defendant’s criminal liability

in case 09 CR 1058.

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19. This Plea Agreement concerns criminal liability only. Except as expressly set
forth in this Agreement nothing herein shall constitute a limitation, waiver or release by the
United States or any of its agencies of any administrative or judicial civil claim, demand or
cause of action it may have against defendant or any other person or entity. The obligations
of this Agreement are limited to the United States Attorney’ s Offrce for the Northern District
of Illinois and cannot bind any other federal, state or local prosecuting, administrative or
regulatory authorities, except as expressly set forth in this Agreement

Waiver of Rights

20. Defendant understands that by pleading guilty he surrenders certain rights,
including the following:

a. Trial rights Defendant has the right to persist in a plea of not guilty _
to the charges against him, and if he does, he would have the right to a public and speedy
trial.

i. The trial could be either a jury trial or a trial by the judge sitting `
without a jury. Defendant has a right to a jury trial. However, in order that the trial be
conducted by the judge sitting without a jury, defendant the government and the judge all
must agree that the trial be conducted by the judge without a jury.

ii. If the trial is a jury trial, the jury would be composed of twelve
citizens from the district selected at random. Defendant and his attorney would participate

in choosing the jury by requesting that the Court remove prospective jurors for cause where

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actual bias or other disqualification is shown, or by removing prospective jurors without
cause by exercising peremptory challenges

iii. If the trial is a jury trial, the jury would be instructed that
defendant is presumed innocent that the government has the burden of proving defendant
guilty beyond a reasonable doubt and that the - jury could not convict him unless, after
hearing all the evidence, it was persuaded of his guilt beyond a reasonable doubt and that it
l was to consider each count 'of the indictment separately The jury would have to agree
unanimously as to each count before it could return a verdict of guilty or not guilty as to that
count

iv. If the trial is held by the judge without a jury, the judge would
find the facts and determine, after hearing all the evidence, and considering each count
separately, whether or not the judge was persuaded that the government had established
defendants guilt beyond a reasonable doubt

v. At a trial, whether by ajury or a judge, the government would
be required to present its witnesses and other evidence against defendant Defendant would
be able to confront those government witnesses and his attorney would be able to cross-
_ examine them.

vi. At a trial, defendant could present witnesses and other evidence
in his own behalf. lf the witnesses for defendant would not appear voluntarily, he could

require their attendance through the subpoena power of the Court A defendant is not

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required to present any evidence.

vii. At a trial, defendant would have a privilege against self-
incrimination so that he could decline to testify, and no inference of guilt could be drawn
from his rehisal to testify. If defendant desired to do so, he could testify in his own behalf.

b. Appellate rights Defendant further.understands he is waiving all
appellate issues that might have been available if he had exercised his right to trial, and may
only appeal the validity of this plea of guilty and the sentence imposed. Defendant
understands that any appeal must be filed within 14 calendar days of the entry of the
judgment of conviction

c. Defendant understands that by pleading guilty he is waiving all the
rights set forth in the prior paragraphs with the exception of the appellate rights specifically
preserved above. Defendant's attorney has explained those rights to him, and the
consequences of his waiver of those rights

21. By entering this plea of guilty, defendant also waives any and all right the
defendant may have, pursuant to 18 U.S.C. §3600, to require DNA testing of any physical
evidence in the possession of the government Defendant fully understands that as a result
of this waiver, any physical evidence in this case will not be preserved by the government

and will therefore not be available for DNA testing in the future.

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Presentence Investigation ReportfPost-Sentence Supervision

22. Defendant understands that the United States Attorney’s Ofiice in its
submission to the Probation Office as part of the Pre-Sentence Report-and at sentencing shall
fully apprise the District Court and the Probation Office of the nature, scope and extent of
defendants conduct regarding the charges against him, and related matters The government
will make known all matters in aggravation and mitigation relevant to sentencing

23. Defendant agrees to truthfully and completely execute a Financial Statement
(with supporting documentatio_n) prior to sentencing, to be provided to and shared among the
Court, the Probation Office, and the United States Attomey’s Offrce regarding all details of
his financial circumstances including his recent income tax returns as specified by the
probation officer. Defendant understands that providing false or incomplete inforrnation, or
refusing to provide this inforrnation, may be used as a basis for denial of a reduction for
acceptance of responsibility pursuant to Guideline §3El.l and enhancement of his sentence
for obstruction of justice under Guideline §3Cl. l, and may be prosecuted as a violation of
Title 18, United States Code, Section 1001 or as a contempt of the Court

24. _ For the purpose of monitoring defendant’s compliance with his obligations to -
pay a fine during any term of supervised release or probation to which defendant is
sentenced, defendant further consents to the disclosure by the IRS to the Probation Office

and the United States Attomey’s Office of defendants individual income tax returns

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(together with extensions, correspondence, and other tax information) filed subsequent to
defendant’s sentencing, to and including the final year`of any period of supervised release
or probation to which defendant is sentenced Defendant also agrees that a certified copy of
this Plea Agreement shall be sufficient evidence of defendant’s request to the IRS to disclose
the returns and return inforrnation, as provided for in Title 26, United States Code, Section
6 103(b).
Other Ternls

25. Defendant`agrees to cooperate with the United States Attorney’s Office in
collecting any unpaid fine for which defendant is liable, including providing financial
statements and supporting records as requested by the United States Attorney’s Office.

Conclusion

26. Defendant understands that this Plea Agreement will be filed with the Court,
will become a matter of public record and may be disclosed to any person._

27. Defendant understands that his compliance with each part of this Plea

_ Agreement extends throughout the period of his sentence, and failure to abide by any term

of the Agreement is a violation of the Agreement Defendant further understands that in the
event he violates this Agreement the government at its option, may move to vacate the
Agreement rendering it null and void, and thereafter prosecute defendant not subject to any
of the limits set forth in this Agreement or may_move to resentence defendant or require

defendant’s specific performance of this Agreement Defendant understands and agrees that

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in the event that the Court permits defendant to withdraw from this Agreement or defendant
breaches any of its terms and the government elects to void the Agreement and prosecute
defendant any prosecutions that are not time-barred by the applicable statute of limitations
on the date of the signing of this Agreement may be commenced against defendant in
_ accordance with this paragraph, notwithstanding the expiration of the statute of limitations
between the signing of this Agreement and the_commencement of such prosecutions

28. ' Should the judge refuse to accept defendant’s plea of guilty, this Plea
Agreement shall become null and void and neither party will be bound thereto.

29. _ Defendant and his attorney acknowledge that no threats, promises lor
representations have been made, nor agreements reached, other than those set forth in this
Plea Agreement to cause defendant to plead guilty.

30. Defendant acknowledges that-he has read this Plea Agreement and carefully
reviewed each provision with his attorney. Defendant further acknowledges that he

understands and voluntarily accepts each and every term and condition of this Agreement

AGREED Tnls DATE: ll /‘ / / 9

Def t .
/'” _%
B AMIN . ANGNER ROBERT RiASClA -
Assistant U.S. Attorney 7 Attomey for Defendant

   

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